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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
      v.                                       : Case No. 1:23-CR-0059-RDM
                                               :
DUSTY ALLAN HIGGINS,                           :
    Defendant.                                 :


                          NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance on behalf of the Defendant, Dusty Allan Higgins,

nunc pro tunc, February 16, 2023, in the above-captioned criminal cause.

                                      Respectfully Submitted,


                                                        Digitally signed
                                      Allen H.          by Allen H.
                                                        Orenberg
                                      Orenberg          Date: 2023.03.05
                                                        08:23:41 -05'00'
                                      _____________________________
                                      Allen H. Orenberg, # 395519
                                      The Orenberg Law Firm, P.C.
                                      12505 Park Potomac Avenue, 6 th Floor
                                      Potomac, Maryland 20854
                                      Tel. No. 301-984-8005
                                      Cell Phone No. 301-807-3847
                                      Fax No. 301-984-8008
                                      aorenberg@orenberglaw.com




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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 5th day of March, 2023, a copy of the foregoing Notice of

Appearance, was delivered to case registered parties by the CM/ECF court system.




                                               Allen H. Digitally        signed
                                                                by Allen H.
                                               Orenber Orenberg
                                                                Date: 2023.03.05
                                               g______________________________
                                                                08:24:06 -05'00'
                                               Allen H. Orenberg




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